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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

NATIONAL WOMEN’S LAW CENTER, )
et al.,                      )
            Plaintiffs,      )
                             )
        v.                   )                        Civil Action No. 17-cv-2458 (TSC)
                             )
OFFICE OF MANAGEMENT AND     )
BUDGET, et al.,              )
                             )
            Defendants.      )
                             )

                 CONSENT MOTION TO MODIFY REPORT SCHEDULE

       Defendants, by and through undersigned counsel, respectfully move the court to modify

the schedule for Defendant United States Equal Employment Opportunity Commission’s

(“EEOC”) upcoming report.

       1.      On April 25, 2019, the Court ordered EEOC to submit progress reports every 21

days, starting on May 3, 2019. See ECF No. 71.

       2.      EEOC timely submitted progress reports on May 3, May 24, and June 14.

       3.      The next report is due on July 5, 2019. Due to vacation schedules of agency

personnel and undersigned counsel during that holiday week, Defendants respectfully request a

one-week extension of time, until July 12, 2019, to file the next status report.

       4.      EEOC proposes filing the following status report as currently scheduled (i.e., on

July 26, 2019), and then continuing to file progress reports every 21 days.

       5.      Defendants have not previously sought any extensions of the deadlines for filing

the progress reports.
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       6.       Between June 13, 2019, and June 14, 2019, undersigned counsel for Defendants

conferred via e-mail with Plaintiffs’ counsel, Jeffrey Dubner, who consented to the schedule

modification.




Date: June 14, 2019                                 Respectfully submitted,

                                                    JOSEPH H. HUNT
                                                    Assistant Attorney General

                                                    JENNIFER D. RICKETTS
                                                    Branch Director

                                                    CARLOTTA WELLS
                                                    Assistant Branch Director

                                                    /s/ Tamra T. Moore
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